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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA
                                 CIVIL MINUTES
Phoenix Division

CV 13-02260-PHX-SRB              DATE: 2-29-16
Year Case No.

HON: SUSAN R. BOLTON

Richard Zabriskie, et al.                  v. Federal National Mortgage Association
Plaintiff(s)                                  Defendant(s)

Deputy Clerk: Maureen Williams        Court Reporter: Liz Lemke

Sylvia Goldsmith and Paul Mengedoth
Plaintiff(s) counsel

Angela Kleine, Gregory Marshall, Michael Miller, Ben Patterson and Erica Stutman
Defense counsel
================================================================
PROCEEDINGS: X Open Court Chambers                 SEALED

This is the time set for Final Pretrial Conference re: March 8, 2016 trial.

Pending motions in limine are argued to the Court, and the Court rules as follows:

- without opposition granting [Doc. 135] Plaintiffs’ Motion in Limine #1 to Exclude
Reference to Attorneys’ Fees and Costs and Motion to Bifurcate Issue for Later Date.
- moot in part and taking under advisement in part [Doc. 137] Plaintiffs’ Motion in Limine
#3 to Exclude Testimony of Evan T. Barnett.
- denying [Doc. 140] Defendant’s Motion in Limine #1 to Exclude Evidence of Defendant’s
Financial Condition.
- deeming as moot [Doc. 138] Plaintiffs’ Motion in Limine #4 to Exclude Evidence re:
Certain Proposed Exhibits That Have Not Properly Been Disclosed or That Are Otherwise
Inadmissable. Any exhibit to which there is an objection can be addressed at trial.
- to be ruled on at trial [Doc. 136] Plaintiffs’ Motion in Limine #2 to Exclude Tri-Merge
Credit Reports.
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-without opposition granting [Doc. 139] Plaintiffs’ Motion in Limine #5 to Exclude Expert
Opinion Testimony
of Fannie Mae Fact Witnesses.
-granting [Doc. 141] Defendant’s Motion in Limine #2 to Exclude the Testimony of Stan V.
Smith. Mr. Smith will not be permitted to testify about the loss of enjoyment of life damages
at trial.
- denying [Doc. 143] Defendant’s Motion in Limine #4 to Exclude Testimony of Mary
Methvin.
- denying [Doc. 144] Defendant’s Motion in Limine #5 to Exclude Evidence of DU Findings
Regarding Non-Parties.
- taking under advisement [Doc. 142] Defendant’s Motion in Limine #3 to Exclude the
Testimony of Evan D. Hendricks.

The Court advises counsel it cannot proceed to trial as scheduled in this matter due to being
in trial in a lengthy criminal trial. IT IS ORDERED continuing Trial from March 8, 2016,
to April 12, 2016, at 9:00 a.m. The Court is currently scheduled for a civil trial on April 12,
2016, and will advise counsel if this matter can proceed to trial on April 12, 2016. Counsel
advise the Court the estimated trial length is 5 to 6 days and stipulate to a jury of 8. Voir dire
procedure is discussed.

At the request of counsel, any deletions/supplementation to the parties’ proposed jury
instructions, verdict forms and exhibits and objections to exhibits are to be submitted no later
than April 5, 2016.

Possibility of settlement is discussed.

The Court adopts the parties’ Joint Proposed Pretrial Order.


Hearing length:     1 hour and 45 minutes
